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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
www.filmb.uscourts.gov

In re: Case No. 6:18-bk-06821-KSJ

Chapter 7
Don Karl Juravin

Debtor.
/

CHAPTER 7 TRUSTEE’S MOTION TO APPROVE SALE OF ASSETS
SUBJECT TO OVERBID AND FOR APPROVAL OF OVERBID PROCEDURES

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of service, plus an additional 3 days for service if any
party was served by U.S. Mail. You should read these papers carefully and discuss them with
your attorney if you have one. If the paper is an objection to your claim in this bankruptcy
case, your claim may be reduced, modified, or eliminated.

If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801 and serve a
copy on the movant’s attorney, Bradley M. Saxton, PO Box 880, Winter Park, FL 32790-0880,
and any other appropriate persons within the time allowed. If you file and serve a response
within the time permitted, the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you
do not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

 

 

DENNIS D. KENNEDY, Chapter 7 Trustee for the Estate of Don Karl Juravin
(“Trustee”), through counsel, and pursuant to 11 U.S.C. § 363(b), and Federal Rule of
Bankruptcy Procedure 6004, hereby moves the Court for an Order authorizing the sale of the
estate’s interest in the property described below subject to overbid and for approval of overbid

procedures, and in support thereof states as follows:
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I. Jurisdiction

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157
and 1334.

2. This matter is a core proceeding within the meaning of 28 U.S.C. §§
157(b)(2)(A), (N), and (O).

3. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

I. Background

4. DON KARL JURAVIN (“Debtor”) filed a petition under Chapter 7 of the
Bankruptcy Code on October 31, 2018.

5. Thereafter, Dennis D. Kennedy was appointed as Chapter 7 Trustee.

6. The Debtor listed certain assets on his petitions and schedules, as amended, which
assets are now property of the Bankruptcy Estate.

7. The Trustee desires to sell certain of the Debtor’s assets, as listed below, to the
Wilmington Financial Services, LLC, a Delaware limited liability company (“Buyer”). Those
assets include:

a. The 2014 Jeep Wrangler, VIN 1C4BJWDG8EL230021;

b. The 2018 Mercedes Benz GLS550W4, VIN 4JGDF7DE7JB003154 (the
“Mercedes”);

c. Any and all of the Bankruptcy Estate’s causes of action, excluding any causes of
action arising under Chapter 5 of Title 11 of the United States Code and/or which

were not ripe as of the date Debtor’s assets became assets of the Bankruptcy

Estate;
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d. Any and all of the Debtor’s interest in Must Cure Obesity, Co.; Juravin, Inc.;
Roca Labs Nutraceutical USA, Inc.; and First Global Health Corporation;

e. “Any and all of the Bankruptcy Estate’s interest in websites, blogs, and social
media accounts, together with any and all passwords necessary to control the web
sites, blogs, and social media accounts;

(collectively, the “Assets”).
III. Relief Requested

A. Approval of Sale of Assets to Buyer Subject to Overbid.

8. By this Motion, the Trustee seeks the entry of an Order approving the sale of the
estate’s interest in the Assets to the Buyer subject to overbid.

9. The estate holds title tothe Assets by virtue of 11 U.S.C. § 541.

10. The Trustee seeks the Court’s authority to sell the Assets pursuant to 11 U.S.C. §
363(b).

11. Pursuant to Section 363(b) of the Bankruptcy Code, the Trustee, after notice and
hearing, may use, sell, or lease property of the Debtors’ estate other than in the ordinary course
of business. 11 U.S.C. §363.

12. Pursuant to Local Rule 2002-4, this Motion may be made by negative notice
procedure.

13. The proposed sale price of the Assets is $43,000.00 (the “Purchase Price’). A true
and accurate copy of the Agreement for Sale is attached hereto as Exhibit “A” and incorporated
by reference herein.

14. The Trustee intends to sell the Assets as is, where is, without any warranties of

any kind whatsoever, and only the right and interest of the estate is being sold. The sale is subject
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to all liens and encumbrances. The Trustee is aware of a lien or encumbrance on the Mercedes,
and the Buyer has acknowledged the existence of the lien and agrees to pay off that lien in
addition to paying the Purchase Price to the estate.

15. The Court should approve the sale if the Trustee can demonstrate a sound
business justification for the sale and if the sale process is fair, open, and reasonable. See Official
Comm. Of Unsecured Creditors of LTV Aerospace & Defense Co. vy. LTV Corp. (in re
Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396
B.R. 571, 573 (Bankr. S.D. Fla. 2008).

16. The sale should be found to have been in good faith if the Trustee can
demonstrate the transaction occurred at arm’s-length and without fraud or collusion. See Kabro
Assocs. of West Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276
(2nd Cir. 1997) (Typically, the misconduct that would destroy a purchaser’s good faith status at
a judicial sale involves fraud, collusion between the purchaser and other bidders or the trustee, or
an attempt to take grossly unfair advantage of other bidders.” (citations omitted)); see also In re
Lorraine Brooke Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2,
2007) (holding that a sale was entitled to the protections of Section 363(m) of the Bankruptcy
Code when it was based upon arm’s length bargaining and without collusion).

17. | Upon information and belief, the Buyer does not have any relationship with the
Debtor, the Trustee or any estate professionals. Therefore, the Trustee requests that the Buyer be
afforded the protections of 11 U.S.C. § 363(m).

18. Because it appears to the Trustee that this transaction provides a benefit to all

parties involved, the Trustee requests an Order approving this sale subject to overbid.
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B. Establishment and Approval of Overbid Procedures.

19. | The proposed sale described above is subject to competing bids provided they
exceed the current Purchase Price. The Trustee will entertain such competing bids provided the
bidder complies with the following proposed procedures, if such procedures are first approved by
this Court.

20. The initial bid must be submitted (a) in writing and accompanied by a deposit of
one hundred percent (100%) of the initial bid offer (the “Deposit’); (b) the initial bid must
exceed the current Purchase Price by a minimum of $2,000.00; and (c) the bid and deposit check
must be received by the Trustee at the address designated below no later than the close of
business 21 days from the date set forth on the attached proof of service, plus an additional 3
days for service.

21. The deposit check should be made payable to Dennis D. Kennedy, Trustee and
reference the bankruptcy case number and number, i.e. Juravin 6:18-bk-06821-KSJ. The
competing bid and deposit should be mailed to:

Dennis D. Kennedy, Trustee
Post Office Box 541848
Merritt Island, Florida 32954

22. Ifa competing bid is received, a telephone auction will occur among the: bidders
on the earliest date the Trustee can arrange such auction. At the auction, any additional bids
submitted must be in minimum increments of $2,000.00.

23. The Trustee will then sell the Assets to the bidder who, in the Trustee’s business
judgment, makes the highest and best bid (the “Winning Bidder’). The Trustee shall be

authorized to sell the estate’s interest in the Assets to the next highest and best bidder in the
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event the Winning Bidder fails to perform (“Backup Bidder”). The Trustee reserves the right to

reject any and all bids that, in his business judgment, are insufficient.

 

24. | The Winning Bidder’s Deposit shall be applied towards the total and final
purchase price. The Winning Bidder must pay the full amount of the successful bid to the
Trustee within ten (10) days from the completion of the auction.

25. To the extent the Winning Bidder is unable, unwilling, or otherwise fails to timely
pay the full amount of the purchase price as set forth in paragraph 24, that bidder’s entire Deposit
shall become non-refundable and forfeited to the Trustee and, in the event of a Backup Bidder,
the Trustee shall be authorized to proceed with a sale to the next highest and best bidder (i.e., the
Backup Bidder).

26. To the extent a bidder is not the Winning Bidder that bidder’s Deposit will be
refunded by the Trustee; except that the Trustee shall retain the Deposit of any Backup Bidder
until the sale to the Winning Bidder closes.

27. The sale will be completed on an “as-is” and “where is” basis, with no warranties,
representations, recourse or contingencies of any kind whatsoever, and only the right and interest
of the estate is being sold. The sale is subject to all liens and encumbrances, including without
limitation, the lien held by Mercedes Benz Financial.

WHEREFORE, the Trustee respectfully requests that the Court enter an Order (i)
authorizing the sale subject of the Assets as described above subject to overbid; (ii) affording the

Buyer the protections of 11 U.S.C. §363(m); (iii) authorizing the sale of the subject Assets
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pursuant to the sale procedures described herein in the event of an overbid; and (iv) granting the
Trustee any other relief to which he may be entitled.

Dated: May 29, 2020.

/s/ Bradley M. Saxton
Bradley M. Saxton, Esquire

Florida Bar No. 0855995

bsaxton@whww.com

Lauren M. Reynolds, Esquire

Florida Bar No. 112141

Lreynolds@whww.com

Winderweedle, Haines, Ward
& Woodman, P.A.

Post Office Box 880

Winter Park, FL 32790-0880

(407) 423-4246

(407) 645-3728 (facsimile)

Attorneys for Dennis D. Kennedy, Trustee

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on May 29, 2020, a true copy of the foregoing has been sent
via:

Electronic Transmission to:

United States Trustee, George C. Young Federal Bldg., 400 W. Washington Street, Suite 1100,
Orlando, FL 32801

Dennis D. Kennedy, Trustee, P. O. Box 541848, Merritt Island, FL 32954

Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N. Orange Avenue, Suite 300,
Orlando, FL 32814

United States Mail to:

Mercedes-Benz Financial, P.O. Box 961, Roanoke, TX 76262-0961

Mercedes-Benz Financial Services, P.O. Box 5209, Carol Stream, IL 60197-5209
Mercedes-Benz Financial Services, Attn: 5209, 8430 West Bryn Mawr Ave. 3“ Fl., Chicago, IL
60631

Mercedes-Benz Financial Services USA LLC, P.O. Box 685, Roanoke, TX 76262

Don Karl Juravin, 15118 Pendio Drive, Montverde, FL 34756

All Creditors and Parties in Interest listed on the mailing matrix attached to the original of this
Motion.

/s/ Bradley M. Saxton
Bradley M. Saxton, Esquire
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Label Matrix for local noticing
113A-6

Case 6:18-bk-06821-KSJ

Middle District of Florida
Orlando

Fri May 29 14:48:50 EDT 2020

Robert H Ewald

Ewald Enterprises, Inc.
12472 Lake Underhill Road
Suite 312

Orlando, FL 32828-7144

Hal E, Hershkowitz
Hershkowitz & Kunitzer, B.A.
5039 Central Avenue

St. Petersburg, FL 33710-8240

Dennis D. Kennedy
Post Office Box 541848
Merritt Island, FL 32954-1848

Mercedes-Benz Financial Services USA LLC
c/o Ed Gazel

Bk Servicing, LLC

PO Box 131265

Roseville, MN 55113-0011

Anna Juravin

Ralph Strzalkowski & Amber Robinson
695 Central Ave Ste. 264

St, Petersburg, FL 33701-3669

Ben-Zvi Law Firm
23 Bar-Cochva
Bnei-Brak, Israel

Consumer Opinion Corp.

c/o Randazza Legal Group

2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

FLORIDA RIGHTS LAW FIRM OBO ANNA JURAVIN
695 CENTRAL AVE STE 264

ST PETE FL 33701

AROBINSON@AROBINSONLAWE IRM . COM
RS@LAWYERONWHEELS .ORG 33701-3669

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Bella Collina Property Owner’s Associat
c/o Becker & Poliakoff

100 Whetstone Place

Suite 302

Saint Augustine, FL 32086-5775

(p) FEDERAL TRADE COMMISSION

ASSOCIATE DIRECTOR

DIVISION OF ENFORCEMENT

600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
WASHINGTON DC 20580-0001

Anna Juravin
15118 Pendio Drive
Montverde, FL 34756-3606

Zachary Lake

26565 West Agoura Road
Suite 200-197

Suite 200-197

Calabasas, CA 91302-1984

Yip Associates

One Biscayne Tower

2 §. Biscayne Boulevard
Suite 2690

Miami, FL 33131-1815

Bella Collina Property Owner’s Associat
c/o William C. Matthews, Esq.

Shutts & Bowen LLP

300 S, Orange Avenue, Suite 1600
Orlando, FL 32801-3382

Carl H. Settlemyer, ITI, Esq.
Federal Trade Commission

600 Pennsylvania Avenue NW
Mail Drop CC-10528
Washington, DC 20580-0001

DCS Real Estate Investments, LLC
c/o David M. Landis, Esq.

PO Box 2854

Orlando, FL 32802-2854

Florida Department of Revenue
Bankruptcy Unit

Post Office Box 6668
Tallahassee FL 32314-6668

Julia Kalatusha
32 Borochov
Tel Aviv, Israel

Page 8 of 15

DCS Real Estate Investments, LLC
636 U.S, Hwhy One

Suite 100

North Palm Beach, FL 33408-4611

Pamela J Henley
343 N. Fern Creek Avenue
Orlando, FL 32803-5439

Don Karl Juravin
15118 Pendio Drive
Montverde, FL 34756-3606

Hal Levenberg

Yip Associates

One Biscayne Tower

2 8, Biscayne Boulevard, Suite 2690
Miami, FL 33131-1815

American Express National Bank
c/o Becket and Lee LLP

PO Box 3001

Malvern PA 19355-0701

Bella Collina Property Owners Assoc Inc.
c/o Aegis Community Mgmt Solutions, Inc.
8390 Championsgate Blvd., Suite 304
Championsgate, FL 33896-8313

Citibank, N.A.
701 East 60th Street North
Sioux Falls, SD 57104-0493

Dr. Free
11 Walnut Street, #12350
Green Cove Springs, FL 32043

Internal Revenue Service
Centralized Insolvency Operation
Post Office Box 7346
Philadelphia, PA 19101-7346

Juvarin, Inc.
P. 0. Box 560510
Montverde, FL 34756-0510
Case 6:18-bk-06821-KSJ Doc 349

Karan Arora
12815 NW 45th Avenue
Opa Locka, FL 33054-5100

Mercedes-Benz Financial Services USA LLC
c/o BK Servicing, LLC

PO Box 131265

Roseville, MN 55113-0011

Noam Ben Zvi
10/93 Rishon Lezion Street
Petachtiachba, Israel

Paul B. Spelman, Esq.
Federal Trade Commission
600 Pennsylvania Avenue NW
Mail Drop CC-10528
Washington, DC 20580-0001

U.S. Securities and Exchange Commission
Office of Reorganization

950 East Paces Ferry Road, N.E.

Suite 900

Atlanta, GA 30326-1382

Zuckerman & Co.
c/o Shay Zuckerman
BaYarkon St, 113
Tel Aviv, Israel

Robyn Marie Severs +

Becker & Poliakoff

111 N. Orange Avenue, Suite 1400
Orlando, FL 32801-2324

Aldo G Bartolone dr+

Bartolone Law, PLLC

1030 North Orange Avenue, Suite 300
Orlando, FL 32801-1004

Amber C Robinson +

Robinson Law Office, PLLC

695 Central Avenue, Ste 1501
St. Petersburg, FL 33701-3669

Christopher J Hamner +
Hamner Law Offices APLC
26565 West Agoura Road
Calabasas, CA 91302-1984

Filed 05/29/20

Lake County Tax Collector
Attn: Bob McKee

Post Office Box 327
Tavares FL 32778-0327

Mercedez~Benz Financial
PO Box 961
Roanoke, TX 76262-0961

Opinion Corp.

c/o Randazza Legal Group

2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

Secretary of the Treasury
15th & Pennsylvania Ave., NW
Washington, DC 20220-0001

United States Attorney
300 North Hogan St Suite 700
Jacksonville, FL 32202-4204

David M Landis +
Mateer & Harbert PA
Post Office Box 2854
Orlando, FL 32802-2854

Miriam G Suarez +

Office of the United States Trustee
George C. Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Michael P Mora +

Federal Trade Commission

600 Pennsylvania Avenue Northwest
Room 2122

Washington, DC 20580-0002

Marc J Randazza +

Randazza Legal Group

2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

Note: Entries with a ‘+’ at the end of the
name have an email address on file in CMECF

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Mercedes-Benz Financial
P. 0. Box 961
Roanoke, TX 76262-0961

Must Cure Obesity Co.
15118 Pendio Drive
Montverde, FL 34756-3606

PSR Developers, LLLP
3900 Centennial Drive
Suite C

Midland, MI 48642~5996

Shay Zuckerman
8 Babli Street
Tel Aviv, Israel

Zachary Lake

c/o Hammer Law Offices, APLC

26565 West Agoura Road, Suite 200-197
Calabasas, CA 91302-1984

Bradley M Saxton t+

Winderweedle, Haines, Ward & Woodman, PA
329 Park Avenue North, Second Floor
Winter Park, FL 32789-7421

United States Trustee - ORL7/13 +
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Charles R Sterbach +

Office of the United States Trustee
400 W. Washington St., Ste 1100
Orlando, FL 32801-2440

William C Matthews +

Shutts & Bowen LLP

300 South Orange Avenue, Suite 1600
Orlando, FL 32801-3382
Case 6:18-bk-06821-KSJ Doc 349 Filed 05/29/20 Page 10 of 15

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C, 342(f) and Fed.R.Bank.P. 2002 (g) (4).

Federal Trade Commission
600 Pennsylvania Avenue NW
CC~9528

Washington, DC 20580

(d)Federal Trade Commission
600 Pennsylvania Avenue NW
Mail Crop CC-10528
Washington, DC 20580

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Consumer Opinion Corp.

(d)Anna Juravin
15118 Pendio Drive
Montverde, FL 34756-3606

(d) Internal Revenue Service
Post Office Box 7346
Philadelphia PA 19101-7346

End of Label Matrix

Mailable recipients 58
Bypassed recipients 9
Total 6T

(u)Karen §. Jennemann (u) Opinion Corp.

Orlando

(d)Bella Collina Property Owner’s Associat (d)Florida Dept. of Revenue
c/o William C Matthews, Esq. Bankruptcy Unit

Shutts & Bowen LLP P.O. Box 6668

300 $. Orange Avenue, Suite 1600 Tallahassee, FL 32314-6668

Orlando, FL 32801-3382

(d)Mercedes~Benz Financial (d)Dennis D Kennedy +
PO Box 961 P. 0. Box 541848
Roanoke, TX 76262-0961 Merritt Island, FL 32954-1848
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Exhibit A

 

AGREEMENT REGARDING SALE OF PROPERTY

This Purchase and Sale Agreement (“Agreement”) is made as of this__ day of
2020, by and between Dennis D. Kennedy, Chapter 7 Trustee (“Trustee”) for the Bankruptcy
Estate of Don Karl Juravin (“Bankruptcy Estate”) and Wilmington Financial Services, LLC, a
Delaware limited liability company (“Buyer”) (Trustee and Buyer, each a “Party” and
collectively the “Parties”).

 

RECITALS

WHEREAS, on October 31, 2018, Don Karl Juravin (the “Debtor”) commenced a
voluntary case under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.,
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Middle District of
Florida, Orlando Division, assigned case number 6:18-bk-06821 (the “Bankruptcy Case”),

WHEREAS, in the Bankruptcy Case, the Debtor listed certain assets on his petitions and
schedules, as amended, which assets are now property of the Bankruptcy Estate;

WHEREAS, on or about August 21, 2019, Trustee and Buyer entered into that certain
Agreement Regarding Sale of Property, which is attached as Exhibit A to the Chapter 7 Trustee's
Motion to Approve Sale of Property [Doc. No. 167] (the “Original Agreement”);

WHEREAS, pursuant to the Original Agreement, the Buyer agreed to purchase and the
Trustee agreed to sell certain assets of the Debtor, as more fully specified therein;

WHEREAS, pursuant to the Original Agreement, the Buyer paid $70,711.54 to Trustee,
which the Trustee is holding in escrow;

WHEREAS, on or about August 23, 2019, the Trustee filed its Chapter 7 Trustee’s
Motion to Approve Sale of Property [Doc, No 167], seeking the Bankruptcy Court’s approval of
the Original Agreement;

WHEREAS, on or about September 13, 2019, the Debtor filed a Motion to Convert Case
to Chapter 11 [Doc. No. 172], in which the Debtor sought to convert the Bankruptcy Case from a
case under Chapter 7 to-Chapter 11 of the Bankruptcy Code, and an Objection to Chapter 7
Trustee’s Motion to Approve Sale of Property [Doc. No. 173], in which the Debtor objected to
the proposed sale due to his pending Motion to Convert Case to Chapter 11 [Doc. No. 172];

WHEREAS, on or about September 16, 2019, an Order Converting Case from Chapter 7
to Chapter 11 [Doc. No. 174] was entered by the Bankruptcy Court;

WHEREAS, from on or about September 16, 2019 to on or about March 16, 2020, the

Bankruptcy Case proceeded until Chapter 11 of the Bankruptcy Code, until the entry of the
Order Reconverting Case from Chapter 11 to Chapter 7 [Doc. No. 323];

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WHEREAS, on or about March 16, 2020, the Trustee was re-appointed as chapter 7

trustee for the Bankruptcy Case pursuant to the Notice of Appointment of Trustee [Doc. No.
322];

WHEREAS, Trustee now desires to sell and Buyer now desires to purchase those certain
Assets as defined below upon the terms and conditions set forth herein;

WHEREAS, a sale of an asset of the Bankruptcy Estate requires approval upon notice to
creditors, the parties are executing this Agreement to memorialize their agreement regarding the
terms of the sale, which will be reflected in the notice of sale filed with the Court;

NOW THEREFORE, in consideration of the mutual covenants and conditions contained
herein and for other good and valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, the Parties agree as follows:

1, ecitals. The foregoing recitals are incorporated into the body of this Agreement
as if fully set ine herein. |
2. Sale of Assets, Subject to the terms and conditions of this Agreement and approval
of the Bankruptcy Court, the Trustee shall sell, assign, and transfer to Buyer, and Buyer shall
purchase, all right, title, and interest of the Bankruptcy Estate in the Assets, as defined herein.
The Assets shall include the following:
a. The 2014 Jeep Wrangler, VIN 1C4BJWDG8EL230021;
b. The 2018 Mercedes Benz GLS550W4, VIN 4JGDF7DE7JB003154 (the
“Mercedes”);
¢. Any and all of the Bankruptcy Estate’s claims and/or causes of action, whether
actually filed or not, excluding claims and causes of action arising under Chapter
5 of Title 11 of the United States Code and/or which were not ripe as of the date
Debtor's assets became assets of the Bankruptcy Estate;
d. Any and all of the Debtor’s interest in Must Cure Obesity, Co.; Juravin, Inc.;
Roca Labs Nutraceutical USA, Inc.; and First Global Health Corporation,
e. Any and all of the Bankruptcy Estate’s interest in websites, blogs, and social
media accounts, together with any and all content thereon and passwords
necessary to control the web sites, blogs, and social media accounts;

(collectively, the “Assets”).

3. Purchase Price. Buyer shall purchase the Assets for the sum of FOURTY-THREE
THOUSAND AND 00/100 DOLLARS ($43,000.00) (‘Purchase Price”), subject to the
conditions described herein, The Purchase Price shall be paid by wire transfer or check made
payable to Dennis D. Kennedy, Chapter 7 Trustee and delivered to Dennis D. Kennedy, PO Box
541848, Merritt Island, Florida 32954. The Purchase Price shall be paid to the Trustee within
three (3) days of execution of the Agreement, and the Trustee will) hold the Purchase Price in
escrow pending Bankruptcy Court approval of this Agreement.

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|

4. Sale of the Mercedes, Buyer expressly acknowledges that the transfer of title to
the Mercedes is subject to a lien in favor of Mercedes-Benz Financial Services, estimated to be
in the amount of $29,661.03 as of June 30, 2020 (the “MBFS Lien"). Buyer acknowledges and
agrees to pay off the MBFS Lien.

5. Delivery of Assets to Buyer. Within ten (10) days of approval of this Agreement
by the Bankruptcy Court, Trustee shall deliver a bill of sale reflecting the sale of the Assets to
Buyer. With respect to the vehicles, the Buyer shall pick the vehicles ‘up from a location where
the Debtor has the vehicles located. If the Debtor fails to provide access to the vehicles then
Trustee shall take such action as is necessary to seek turnover of the vehicles,

6. No Representations or Warranties, Buyer expressly acknowledges and agrees that
the Assets are being sold by the Trustee as is, where is, without any representations or warranties
of any kind whatsoever, and only the right and interest of the Bankruptcy Estate is being sold.

7. Default. In the event that the Buyer fails to make payment as required under this
Agreement, and if the default is not cured within ten (10) days of notice given via email from the
Trustee (or-his counsel) to Buyer’s counsel, David Landis at DLandis@MateerHarbert.com, then

the Buyer shall be in default under this Agreement and the Assets shall remain as property of the
Bankruptcy Estate.

 

8. Bankruptcy Court Approval. This Agreement is subject to and contingent upon
approval of the United States Bankruptcy Court. The Trustee agrees to move for approval of the
sale within five (5) business days from the execution of this Agreement. Should the Bankruptcy
Court deny approval of this Agreement, this Agreement shall be null and void.

9. Execution in Counterparts. This Agreement may be executed in one or more
counterparts, each of which is deemed an original and all of which are deemed but one
agreement. This Agreement may be signed by facsimile and/or e-mail’ scan and any such copy of
a signature is, for all intents and purposes, deemed an original signature.

 

10. Amendment; Extension, and Waiver. This Agreement may not be amended
except by an instrument-in writing signed on behalf of each of the parties hereto.

1]. Binding Effect: Assignment. This Agreement shall be binding upon and inure to
the benefit of the Parties hereto, and their respective successors, assigns, heirs, executors,
administrators, officers, directors, shareholders, employees, agents and legal representatives.

12. Severability. This Agreement is intended to be performed in accordance with,
and only to the extent permitted by, all applicable laws. If any provision of this Agreement or
the application thereto to any Person or circumstances shall, for any reason and to any extent, be
valid or unenforceable, the remainder of this Agreement and the application of such provision to

other persons or circumstances shall not be affected thereby, but rather shall be enforced to the
greatest extent permitted by law,

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13, unterparts. This Agreement may be executed by the parties hereto in separate
counterparts, oa of which when so executed and delivered shall be an original, but all such
counterparts shall together constitute one and the same instrument. Each counterpart may consist
of a number of copies hereof each signed by less than all, but together signed by all of the parties
hereto, A signature received via facsimile or email shall be considered the same as an original
signature for purposes of execution of this Agreement.

14. Headings. The headings in this Agreement are for reference only and shall not
affect the interpretation of this Agreement.

15. Entire Agreement, This Agreement supersedes alli previous contracts and
constitutes the entire agreement of whatsoever kind or nature existing between or among the
parties representing the within subject matter and no party shall be entitled to benefits other than
those specified herein. As between or among the parties, no oral statement or prior written
material not specifically incorporated herein shall be of any force| and effect, The parties
specifically acknowledge that in entering into and executing this Agreement, the parties rely
solely upon the representations and agreements contained in this Agreement and no others, All

prior representations or agreements, whether written or verbal, not expressly incorporated herein
are superseded hereby.

16. Legal Counsel. The Parties hereto do represent and watrant one to the other that
each has been represented by counsel of their own choosing i in connection with the negotiation
and drafting hereof, that all Parties have participated in the drafting thereof, and that therefore
this Agreement shall not be construed more or less favorably against: either Party. Each Party
further represents and warrants one to the other that he, she, or it has read and understands the
terms hereof, and enters into such Agreement as his, her, or its own free and voluntary act.

17. Drafting, No provision of this Agreement shall be interpreted for or against either
party hereto on the basis that such party was the draftsman of such provision, both parties having
participated equally in the drafting hereof, and no presumption or burden of proof shall arise
favoring or disfavoring any party by virtue of the authorship of any, of the provisions of this
Agreement.

18. Validity and Construction. This Agreement and the validity, performance and
enforcement hereof, shall be interpreted and construed in accordance with the laws of the State
of Florida and the United States Bankruptcy Code,

19. Prevailing Party/Attorneys’_Fees. In connection with this Agreement and
performance thereunder, each party shall bear its own fees and costs. |However, i in the event it
shall become necessary for any party to take action of any type whatsoever to enforce the terms
of this Agreement, the prevailing party shall be entitled to recover all attorneys’ fees, costs and
expenses, including all out-of-pocket expenses that are not taxable as costs, incurred in
connection with any such action, including any negotiations, mediations, litigation, or appeals,

IN WITNESS WHEREOF, this Agreement has been signed by « each of the parties on the
date first above written,

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BUYER:

Wilmington Financial Services, LLC,
a Delaware limited liability company

      

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JV I LA eh.

Dennis D. — as Chapter 7
Trustee of the Bankruptcy Estate of,
Don Karl Juravin /3>- ~CbRE/-K
